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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                           File No. 1:04-CR-165
v.
                                                           HON. ROBERT HOLMES BELL
GEORGE TERRANCE BESSER,

              Defendant.
                                              /

              MEMO RANDUM O PINION AND ORDER

       This matter is before the Court on Defendant George Terrance Besser’s motion for

judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29(c). On June 14,

2005, the jury returned a verdict of guilty against Defendant for multiple counts of mail

fraud, money laundering, conspiracy to commit mail fraud and money laundering, and

conspiracy to defraud the United States. Thereafter, on June 28, 2005, Defendant filed the

present motion for a judgment of acquittal contending that the evidence was insufficient to

convict him of the above offenses. For the reasons that follow, Defendant’s motion is

denied.

       Before considering the merits of a motion for a judgment of acquittal pursuant to Rule

29, the Court must determine if the motion was timely filed. Rule 29(c)(1) provides: “A

defendant may move for a judgment of acquittal or renew such a motion, within 7 days after

a guilty verdict or after the court discharges the jury, whichever is later, or within any other
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time the court sets during the 7-day period.” F ED. R. C RIM . P. 29(c)(1). This seven-day time

period is strictly enforced. See Carlisle v. United States, 517 U.S. 416, 433 (1996) (holding

that district court did not have authority to grant a motion for judgment of acquittal filed one

day outside of the time limit prescribed by Rule 29(c)); United States v. Gupta, 363 F.3d

1169, 1172-73 (11th Cir. 2004); United States v. Emuegbunam, 268 F.3d 377, 397 (6th Cir.

2001).

         Rule 45 provides certain guidelines for computing the seven-day time period under

Rule 29(c). See F ED. R. C RIM . P. 45(a); Emuegbunam, 268 F.3d at 397 (applying Rule 45(A)

to compute the seven-day period for filing a motion under Rule 29(c)). In addition to

excluding the day of the event beginning the period of time, in this case the date of the guilty

verdict and the discharge of the jury, Rule 45(a)(2) mandates that for periods of less than 11

days, intermediate Saturdays, Sundays, and legal holidays are excluded. F ED. R. C RIM . P.

45(A)(2). In this case, applying Rule 29(c)(1) and Rule 45(a), the seven-day time period

began on June 15, 2005, the day following the guilty verdict. The intermediate Saturday and

Sunday are excluded pursuant to Rule 45(A)(2), thus the deadline for timely filing the motion

was June 23, 2005. Defendant’s motion was filed on June 28, 2005, nearly one week after

the deadline. Accordingly, the Court does not have jurisdiction over Defendant’s untimely

motion. See Carlisle, 517 U.S. at 433; United States v. Sheppard, 149 F.3d 458, 462-63 (6th

Cir. 1998) (holding that based upon Carlisle the district court lacked jurisdiction over an

untimely Rule 29(c) motion); United States v. Rupert, 48 F.3d 190, 192 (6th Cir. 1995)



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(“Under Rule 29, it is beyond the court’s jurisdiction to grant an untimely motion for

acquittal.”). Accordingly,

        IT IS HEREBY ORDERED that Defendant’s motion for a judgment of acquittal

(Docket #436) is DENIED.


Date:       July 19, 2005              /s/ Robert Holmes Bell
                                       ROBERT HOLM ES BELL
                                       CHIEF UNITED STATES DISTRICT JUDGE




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